OPINION — AG — **** PUBLIC TRUST EMPLOYEES CANNOT PARTICIPATE IN PUBLIC EMPLOYEES RETIREMENT SYSTEM **** PUBLIC TRUSTS CREATED BY CITIES AND TOWNS ARE NOT "ELIGIBLE EMPLOYERS" AS DEFINED IN 74 O.S. 1971 902 [74-902](14) AND THE EMPLOYEES OF SUCH PUBLIC TRUSTS ARE NOT ELIGIBLE TO PARTICIPATE IN THE OKLAHOMA PUBLIC EMPLOYEES RETIREMENT SYSTEM. SINCE 74 O.S. 1971 902 [74-902](14) DOES NOT INCLUDE PUBLIC TRUSTS AS ELIGIBLE EMPLOYERS, THE EMPLOYEES OF SUCH PUBLIC TRUSTS CANNOT CONTINUE TO PARTICIPATE IN THE OKLAHOMA PUBLIC EMPLOYEES RETIREMENT SYSTEM. CITE: 60 O.S. 1951 179 [60-179], 74 O.S. 1971 902 [74-902](14) (LARRY L. FRENCH)